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UNITED STATES DISTRICT COURT
                                                                           DOC #: _________________
                                                                                         1/26/2018
                                                                           DATE FILED: ______________
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
RAYMOND WANG,                                                  :
                                                               :
                           Plaintiff,                          :
                  -v.-                                         :   15-CV-9376 (PAE) (JLC)
                                                               :
SOCIÉTÉ DU FIGARO S.A.,                                        :
NAMESHIELD, and ANNE MORIN,                                    :
                                                               :
                           Defendants.                         :
---------------------------------------------------------------X




                                REPORT & RECOMMENDATION
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JAMES L. COTT, United States Magistrate Judge.

To the Honorable Paul A. Engelmayer, United States District Judge:

      Pro se plaintiff Raymond Wang brought this action seeking monetary,

declaratory, and injunctive relief for claims of cybersquatting and reverse domain-

name hijacking under the Anticybersquatting Consumer Protection Act. On

December 29, 2016, default judgment was entered against defendants. This matter

was then referred to me to conduct an inquest into damages and for a report and

recommendation as to all forms of relief sought by Wang. Both Wang and

defendants (who appeared after the default judgment was entered) have submitted

papers regarding the relief, if any, to which Wang is entitled. For the reasons

below, I recommend that Wang be awarded limited declaratory relief, but no

injunctive or monetary relief.

                                 I.    BACKGROUND

A.    The Parties

      Plaintiff Raymond Wang, who is proceeding pro se and in forma pauperis, is a

resident of Manhattan. Complaint, dated Nov. 26, 2015, Dkt. No. 2 (“Compl.”), ¶ 1;

Order Granting IFP Application, dated Dec. 2, 2015, Dkt. No. 3. By his own

account, Wang is “a regular patron of the arts in the New York City area” and “a

fan” of the 1786 Mozart opera Le nozze di Figaro (The Marriage of Figaro). Compl.

¶¶ 12–13. In September 2015, Wang registered the domain name <lefigaro.news>,

which is the subject of this action. Id. ¶ 8.




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         Defendant Société du Figaro S.A. is a French corporation (société anonyme,

abbreviated “S.A.”) headquartered in Paris. Defendants’ Proposed Findings of Fact

and Conclusions of Law, dated Feb. 23, 2017, Dkt. No. 29 (“Defs.’ Findings”) at 1

¶ 1. 1 Société du Figaro owns and publishes the French newspaper Le Figaro, which

defendants describe as France’s “premier daily general-interest newspaper,” noting

that its website <www.lefigaro.fr> receives approximately 18 million monthly

visitors. Id. at 1–2 ¶¶ 1, 5, 7. Société du Figaro owns several trademarks that

include the words “Le Figaro” and more than 200 domain names that include

variations on the terms “Le Figaro” or “Figaro.” Id. at 2–3 ¶¶ 6–7.

         Defendant Nameshield, another French corporation headquartered in Paris,

is a “rights-management vendor.” Id. at 1 ¶ 2. Société du Figaro “engaged”

Nameshield to help protect its trademark rights. Id. at 1 ¶ 2; 3 ¶¶ 8–9. Among

other things, Nameshield represented Société du Figaro in trademark-related

arbitration, including proceedings under the Uniform Domain-Name Dispute-

Resolution Policy (“UDRP”). Id. at 3 ¶ 9. Defendant Ann Morin is a French citizen

and domiciliary who is employed by Nameshield as “a legal counsel (juriste).” Id. at

2 ¶ 3.

B.       Procedural History

         Wang commenced this action by filing a complaint on November 30, 2015.

See Compl., Dkt. No. 2. In his complaint, Wang seeks a “declaration of lawful use of



1Because defendants’ proposed findings of fact and conclusions of law contain two
sets of paragraph numbers, pinpoint citations to this submission include both page
and paragraph numbers.
                                           2
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the domain name, injunctive relief prohibiting the transfer of the domain name to

the defendants, and for damages caused by defendants’ reverse hijacking.” Compl.

¶ 2. After defendants agreed to accept service by mail rather than through France’s

Ministry of Justice, the Clerk of Court mailed a copy of the summons and complaint

to defendants on March 4, 2016. See Docket entries dated Mar. 4, 2016. 2

      As of June 27, 2016, defendants had not appeared in this action or responded

to the complaint. Accordingly, Wang moved for a default judgment against

defendants. Memorandum of Law in Support of Judgment by Default, dated June

27, 2016, Dkt. No. 15 (“Pl.’s Mem.”). Defendants were ordered to file any opposition

to Wang’s motion by August 1, 2016. Order, dated June 28, 2016, Dkt. No. 16.

      Defendants had not submitted any opposition papers as of December 29,

2016. Therefore, default judgment was entered against them as to liability at that

time. Order, dated Dec. 29, 2016, Dkt. No. 18. This case was then referred to me to

conduct an inquest into damages and for a report and recommendation as to

whether there was a “sound and persuasive basis for the other relief” sought by




2Defendants agreed to accept service by mail through Marie-Pauline Leleu, a
Nameshield employee who represented that she was counsel for defendants.
Declaration of Marion Courtier, dated Feb. 23, 2017, Dkt. No. 29-1 (“Defs.’ Decl.”),
¶ 6; Order dated Feb. 19, 2016, Dkt. No. 9. Because Ms. Leleu indicated that
defendants would accept service by mail, the mailing of the summons and complaint
by the Clerk was “deemed good and sufficient service.” Order, dated Mar. 2, 2016,
Dkt. No. 10; Order, dated Dec. 29, 2016, Dkt. No. 18, at 3 n.2. In their inquest
submissions, defendants note that Ms. Leleu is merely a “legal assistant,” not an
attorney. Defs.’ Findings at 8 ¶¶ 34, 36. Nevertheless, defendants do not deny that
they agreed to accept service by mail or otherwise contest the way service was
effectuated. Id. at 12 ¶ 5 (noting that “defendants do not contest the Court’s
entrance of a default judgment on liability”).
                                         3
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Wang. Id. at 6; Order of Reference, dated Dec. 29, 2016, Dkt. No. 19. The Court

subsequently ordered Wang to file proposed findings of fact and conclusions of law

by February 2, 2017, and directed defendants to file any opposition by February 23,

2017. Order, dated Jan. 4, 2017, Dkt. No. 20.

      Wang timely filed proposed findings of fact and conclusions of law on

February 2, 2017. Proposed Findings of Fact and Conclusions of Law, dated Jan.

29, 2016, Dkt. No. 22 (“Pl.’s Findings”). 3 Though defendants had not previously

appeared in this action, each defendant filed a notice of appearance through counsel

between February 6, and 22, 2017. Dkt. Nos. 24–25, 27–28. On February 23, 2017,

defendants timely filed proposed findings of fact and conclusions of law of their own

and a supporting declaration. Although defendants do not contest the entry of

default judgment against them as to liability, they argue that all forms of relief

requested by Wang should be denied. Defs.’ Findings at 12 ¶¶ 4–5. 4

      After granting an extension, the Court permitted Wang to file reply papers by

March 31, 2017. Dkt. No. 33. In a supplemental order, the Court directed Wang to

ensure that any factual allegations contained in his reply papers be presented in a




3Due to an apparent typographical error, this submission is dated January 29,
2016, not 2017.

4 While conceding liability, defendants offer a detailed explanation for their belated
appearance in this action. Defs.’ Findings at 8–11 ¶¶ 33–54. In short, Société du
Figaro’s officers believed that this lawsuit was “merely an appeal of the UDRP
arbitral panel’s decision, and that [defendant] Nameshield was handling the
appeal.” Id. at 8 ¶ 35. Meanwhile, Nameshield’s staff seemingly thought that no
response was required in this action because Wang’s complaint had not yet become
“‘official.’” Id. at 8 ¶ 34.
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sworn declaration or affidavit. Order, dated Mar. 28, 2017, Dkt. No. 34. The Court

further noted that he had not sworn to the allegations included in his prior

submissions. Id. Wang proceeded to file reply papers dated March 31, 2017, as well

as affidavits attesting to the factual allegations contained in his complaint,

proposed findings of fact and conclusions of law, and a supporting memorandum of

law. See Reply to Defendants’ Proposed Findings of Fact and Conclusions of Law,

dated Mar. 31, 2017, Dkt. No. 36 (“Pl.’s Reply”); Affidavits, dated Mar. 31, 2017,

Dkt. Nos. 35, 37–38.

C.    Factual Allegations

      On September 10, 2015, Wang registered the domain name <lefigaro.news>

with the domain-name registrar Name.com. Compl. ¶¶ 8–9. 5 Wang affirms that he

registered the <lefigaro.news> domain for purposes of creating “a general

performance arts news and opera blog.” Compl. ¶ 12. Wang states that he chose



5 “Web pages are designated by an address called a domain name. A domain name
consists of two parts: a top level domain and a secondary level domain. The top
level domain is the domain name’s suffix”—such as “.edu for educational
institutions” or “.com for commercial users.” Sporty’s Farm L.L.C. v. Sportsman’s
Mkt., Inc., 202 F.3d 489, 492 (2d Cir. 2000). “The secondary level domain is the
remainder of the address, and can consist of combinations of letters, numbers, and
some typographical symbols.” Id. For “example, in the domain name ‘cnn.com,’ cnn
. . . represents the secondary level domain and .com represents the top level domain.
Each domain name is unique.” Id. at 492–93.

       “The domain name system is administered by the Internet Corporation for
Assigned Names and Numbers (‘ICANN’).” Stephens v. Trump Org. LLC, 205 F.
Supp. 3d 305, 308 (E.D.N.Y. 2016). “A domain name ‘registrar’ is one of several
entities licensed by . . . ICANN . . . to grant domain names to applicants, or
‘registrants.’” Mattel, Inc. v. Barbie-Club.com, 310 F.3d 293, 296 n.2 (2d Cir. 2002).
“Name.com is an ICANN-accredited domain name registrar.” See Name.com
homepage, www.name.com (last visited Jan. 23, 2018).
                                           5
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this particular domain name as a tribute to Mozart’s 1786 opera Le nozze di Figaro,

which was scheduled for performances at the Metropolitan Opera in New York City

for the 2015–2016 season. Id. ¶¶ 12–13; Pl.’s Mem. at 2; Pl.’s Reply ¶ 15.

      On September 29, 2015, defendant Nameshield, on behalf of defendant

Société du Figaro, commenced a UDRP arbitral proceeding against Wang in the

Czech Arbitration Court. UDRP Panel Decision, Defs.’ Decl. Ex. I, Dkt. No. 29-10

(“Panel Decision”), at 1. 6 In its UDRP complaint, Société du Figaro argued that the

domain name <lefigaro.news> was identical to its “LE FIGARO” trademark. UDRP

Complaint, Defs.’ Decl. Ex. R, Ex. No. 29-19, at 1. Société du Figaro also noted that

it had registered several variants of its “Le Figaro” mark and that its newspaper Le

Figaro dated back to 1826. Id. According to Société du Figaro, Wang had no rights




6 The UDRP “is incorporated into all domain-name registration agreements.” Retail
Servs., Inc. v. Freebies Publ’g, 364 F.3d 535, 540 (4th Cir. 2004). Thus, by
registering <lefigaro.news> with Name.com, Wang agreed to the UDRP. See
“Dispute Policy,” Name.com, www.name.com/policies/dispute (last visited Jan. 23,
2018) (“This Uniform Domain Name Dispute Resolution Policy [UDRP] has been
adopted by the Internet Corporation for Assigned Names and Numbers (‘ICANN’),
[and] is incorporated by reference into your Registration Agreement . . . .”).

       “The UDRP process has been described as ‘adjudication lite’ because the
proceedings are handled entirely upon written submissions and the arbitration
panel has total discretion to determine the application of precedent and rules of
evidence.” Gen. Media Commc’ns, Inc. v. Crazy Troll, LLC, No. 06-CV-4051 (LAK)
(FM), 2007 WL 102988, at *4 (S.D.N.Y. Jan. 16, 2007) (citation omitted). The
Prague-based Czech Arbitration Court, a self-described not-for-profit organization,
is one of five dispute-resolution providers currently approved by ICANN. “About
the Czech Arbitration Court,” Czech Arbitration Court,
http://udrp.adr.eu/about_us/who_we_are.php (last visited Jan. 23, 2018); “List of
Approved Dispute Resolution Service Providers,” ICANN.org,
www.icann.org/resources/pages/providers-6d-2012-02-25-en (last visited Jan. 23,
2018).
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or legitimate interests in the domain name, and Wang was using the domain name

in bad faith. Id. at 2.

       In response, Wang represented that he was a “social blogger” who registered

<lefigaro.news> “for a personal blog for art and theatre enthusiasts, especially for

opera fans of [Mozart’s] ‘Le nozze di Figaro.’” Panel Decision at 3. 7 Wang also

argued that “Le Figaro” is a “generic dictionary word” meaning “the barber” and

that “‘millions of places, streets, people, and businesses’ have been named after the

opera.” Id. Wang challenged the notion that the newspaper Le Figaro was founded

in 1826, contending that Société du Figaro’s “incorporation documents” indicated

that Société du Figaro was established in 1954. Id. Additionally, Wang depicted Le

Figaro as a “small time newspaper” with a print circulation of only 408,361—failing

to surpass “the Instagram account of Kim Kardashian, which [was] said to have

some 20 Million” followers. Id. at 4. Finally, Wang accused Société du Figaro of

“attempting to engage in reverse domain name hijacking.” Id.

       When the UDRP proceeding commenced, <lefigaro.news> was devoid of

content. Panel Decision at 6; Defs.’ Findings at 3 ¶ 12. On October 14, 2015,

however, five days before filing his response to Société du Figaro’s complaint in the

UDRP proceeding, Wang added a blog post to his website that read as follows:

              Hello Opera fans of Le nozze di Figaro! After some surprising
              hiccups the long awaited blog site is finally here. I will try to
              post as much as possible and keep everyone updated with the
              latest!


7Wang’s responsive papers in the UDRP proceeding are not part of the present
record, though the Panel Decision summarizes his arguments, and Wang has not
disputed the accuracy of the summary.
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             First things first, the very first original original [sic] Figaro was
             a gentleman named Francesco Benucci, who sang many of
             Mozart’s characters in his long career. Benucci rose to fame for
             his song “Non piu andrai, farfallone amoroso,” and was known
             for his strong, deep powerful voice that impressed Mozart.

             For those of you who are in town in NY for the holiday season,
             and as some of you know the Metropolitan Opera is in session
             with Otello, Tannhauser, and Tosca!

Panel Decision at 2; Compl., Ex. 1. Wang took a screenshot of his website three

minutes after adding this post and submitted it to the UDRP panel for

consideration. Panel Decision at 3–4.

      The UDRP panel issued a decision dated November 9, 2015, finding that

Wang had “no right or legitimate interests in the Domain Name and the Domain

Name had been registered and used in bad faith.” Id. at 7. The panel determined

that <lefigaro.news> was “undoubtedly ‘confusingly similar’” to the “Le Figaro”

mark. Id. at 4. The panel concluded that it was more likely than not that Wang

had registered the domain name “to take some form of unfair advantage of its

actual and potential associations with [Société du Figaro’s] business and marks”—

not “with any reference to Mozart in mind.” Id. at 5, 7. Regarding Wang’s

screenshot of the blog post, the panel concluded that this evidence appeared to have

“been manufactured after [the] proceedings . . . commenced . . . to substantiate

[Wang’s] claims.” Id. at 6. For these reasons, the panel directed that the domain

name <lefigaro.news> be transferred to Société du Figaro. Id. at 7.

      The parties dispute whether the UDRP panel’s order was effectuated such

that <lefigaro.news> was actually transferred from Wang to Société du Figaro.

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Citing an email from a Name.com representative to a Nameshield legal assistant

(Ms. Leleu), defendants assert that the domain name had been scheduled to be

transferred on November 30, 2015, but that, before the transfer took place,

Name.com placed <lefigaro.news> in a “Compliance Lock” pending the resolution of

this lawsuit. Defs.’ Findings at 7 ¶ 31 (citing Email, dated Dec. 5, 2015, Defs.’ Decl.

Ex. S, Dkt. No. 29-20). According to defendants, the “‘Compliance Lock’ prevented

the transfer of the domain.” Id. at ¶ 32. As Wang notes, however, the very email

that defendants cite for their position appears to contradict it, confirming instead

that the transfer took place and that the “Compliance Lock” went into effect

afterwards. Pl.’s Reply ¶ 9; Email, dated Dec. 5, 2015, Defs.’ Decl. Ex. S, Dkt. No.

29-20 (email from Name.com representative stating that the “domain has been

transferred to the Name.com account you provided to us”).

      In their papers, defendants submitted evidence that <lefigaro.news> is

currently inoperative and has been available for purchase since September 10,

2016—one year after Wang first registered the domain name. Defs.’ Findings at 4

¶¶ 15–16. Defendants attributed the inoperative status to Wang’s failure to renew

his registration, but Wang counters that he could not renew it because the domain

name was in Société du Figaro’s control as a result of the UDRP panel’s transfer

order and that defendants were responsible for allowing the registration to lapse.

Id.; Pl.’s Reply ¶¶ 7–9. Wang further represents that, if the Court so permits, he

would “be happy to buy it again.” Pl.’s Reply ¶ 7.




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      Defendants supplemented their proposed findings and conclusions by letter

dated August 3, 2017, in which they reported to the Court that on July 10, 2017, an

individual named Thomas Lextrait—who to defendants’ knowledge is not affiliated

with any of the parties—registered the “lefigaro.news” domain name. Letter to the

Court dated Aug. 3, 2017 (Dkt. No. 39), & Ex. A. Defendants contend that

Lextrait’s registration “demonstrates that ‘lefigaro.news’ had previously been

publicly available and Mr. Wang failed to reregister it when it became available.”

Id. They add that the Lextrait registration further establishes that they have not

renewed or derived any profit from the domain. Id.

      Wang responded to defendants’ letter concerning the Lextrait registration by

letter dated August 7, 2017 (Dkt. No. 40), in which he argued that whether Lextrait

(or anyone else) registered the domain is irrelevant to the issues presented in this

case, and that this dispute is “about the defendants’ successful domain hijacking by

abusing the UDRP process.” 8



8 The parties have not addressed the question of whether at least some of the relief
sought is now moot to the extent that neither party currently owns the domain
name and it has been registered by someone else. Moreover, neither party has
explained what transpired from when Name.com allegedly transferred the domain
name to Société du Figaro to when the Lextrait registration took place (and whether
either party made any further efforts to register the domain name). Nonetheless,
given that both parties had an interest in the domain name at one time, may have
such an interest again, and given that the UDRP panel decision seems likely to
interfere with Wang’s ability ever to reacquire it, the controversy between the
parties still appears to be a live one. Cf. Mailplanet.com, Inc. v. Lo Monaco Hogar,
S.L., 291 F. App’x 229, 232 (11th Cir. 2008) (litigation brought by registrant seeking
declaratory judgment and permanent injunctive relief regarding registration of
Internet domain name was moot when trademark owner decided to concede
ownership of domain name and to forgo its request for transfer of domain name
from registrant).
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                                II.    DISCUSSION

A.    Standard to Establish Damages and Equitable Relief on Default

      “Even when a default judgment is warranted based on a party’s failure to

defend, the allegations in the complaint with respect to the amount of the damages

are not deemed true. The district court must instead conduct an inquiry in order to

ascertain the amount of damages with reasonable certainty.” Credit Lyonnais Sec.

(USA), Inc. v. Alcantara, 183 F.3d 151, 155 (2d Cir. 1999) (citation omitted). To

establish damages upon default, plaintiffs must demonstrate that the

“compensation sought relate[s] to the damages that naturally flow from the injuries

pleaded.” Greyhound Exhibitgroup, Inc. v. E.L.U.L. Realty Corp., 973 F.2d 155, 159

(2d Cir. 1992). Additionally, a “court may ‘issue an injunction on a motion for

default judgment provided that the moving party shows that (1) it is entitled to

injunctive relief under the applicable statute and (2) it meets the prerequisites for

the issuance of an injunction.” Garis v. Uncut-RawTV, Inc., No. 06-CV-5031 (ADS)

(AKT), 2011 WL 4404035, at *3 (E.D.N.Y. July 5, 2011), adopted by, 2011 WL

4404032 (E.D.N.Y. Sept. 21, 2011) (internal quotation marks omitted).

      “In determining damages not susceptible to simple mathematical calculation,

Federal Rule of Civil Procedure 55(b)(2) gives courts discretion to determine

whether an evidentiary hearing is necessary or whether to rely on detailed

affidavits or documentary evidence.” Laboratorios Rivas, SRL v. Ugly & Beauty,

Inc., No. 11-CV-5980 (RA) (JLC), 2013 WL 5977440, at *5 (S.D.N.Y. Nov. 12, 2013),

adopted by, 2014 WL 112397 (S.D.N.Y. Jan. 8, 2014) (internal quotation marks



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omitted). The Second Circuit has long approved the process of conducting an

inquest by affidavit, without an in-person court hearing, “as long as [the court has]

ensured that there was a basis for the damages specified in the default judgment.”

Transatl. Marine Claims Agency, Inc. v. Ace Shipping Corp., 109 F.3d 105, 111 (2d

Cir. 1997) (quoting Fustok v. ContiCommoditv Servs., Inc., 873 F.2d 38, 40 (2d Cir.

1989)). The Court concludes here that “a hearing is not necessary, as documents

submitted in this action provide a ‘sufficient basis from which to evaluate the

fairness’ of the damages” and other relief requested. Am. Jewish Comm. v. Berman,

No. 15-CV-5983 (LAK) (JLC), 2016 WL 3365313, at *4 (S.D.N.Y. June 15, 2016)

(quoting Fustok, 873 F.2d at 40), adopted by, 2016 WL 4532201 (S.D.N.Y. Aug. 29,

2016).

B.       Alleged Anticybersquatting Consumer Protection Act Violations

         Wang seeks monetary, injunctive, and declaratory relief on the ground that

defendants are liable for “cybersquatting” and “reverse domain name hijacking” in

violation of the Anticybersquatting Consumer Protection Act (“ACPA”), Pub. L. No.

106–113, 113 Stat. 1501 (1999) (codified in scattered sections of Title 15 of the

United States Code). Pl. Mem. at 6–9; Compl. ¶¶ 37–53, “Wherefore” clause ¶ A–I.

The Court reviews each ground for relief below and recommends that Wang not

receive any relief for his cybersquatting claim, but that he receive limited




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declaratory relief for one of his two claims of reverse domain-name hijacking. 9 The

Court also recommends that no monetary damages be awarded.

      1.     Cybersquatting Under 15 U.S.C. § 1125(d)(1)

             a.    Legal Standard

      In 1999, Congress amended the Lanham Act with the ACPA “to protect

consumers and holders of distinctive trademarks from ‘cybersquatting.’” Webadviso

v. Bank of Am. Corp., 448 F. App’x 95, 97 (2d Cir. 2011). “Cybersquatting involves

the registration as domain names of well-known trademarks by non-trademark

holders who then try to sell the names back to the trademark owners.” Sporty’s

Farm, 202 F.3d at 493. The ACPA sought “to provide clarity in the law for

trademark owners by prohibiting the bad-faith and abusive registration of

distinctive marks as Internet domain names with the intent to profit from the




9 Where a defendant has defaulted, “a court is required to accept all of the
[plaintiff’s] factual allegations as true and draw all reasonable inferences in its
favor.” Finkel v. Romanowicz, 577 F.3d 79, 84 (2d Cir. 2009). Nonetheless, “the
default establishes [a defendant’s] liability [only] as long as the complaint has
stated a valid cause of action.” Kuruwa v. Meyers, 823 F. Supp. 2d 253, 256
(S.D.N.Y. 2011), aff’d, 512 F. App’x 45 (2d Cir. 2013) (citations omitted); see also
Fed. R. Civ. P. 55(b)(2). “In other words, even after a default, ‘it remains for the
court to consider whether the unchallenged facts constitute a legitimate cause of
action, since a party in default does not admit conclusions of law.’ ” Johnson &
Johnson v. Azam Int’l Trading, No. 07-CV-4302 (SLT) (SMG), 2013 WL 4048295, at
*8 (E.D.N.Y. Aug. 9, 2013) (quoting Labarbera v. ASTC Labs., Inc., 752 F. Supp. 2d
263, 270 (E.D.N.Y. 2010)); see also Taizhou Zhongneng Imp. & Exp. Co. v.
Koutsobinas, 509 F. App’x 54, 56 (2d Cir. 2013) (defaulting defendant’s liability
depends on whether “allegations are sufficient to state a cause of action”).



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goodwill associated with such marks.” Id. at 495 (quoting S. Rep. No. 106–140, at

4).

       To this end, the ACPA created a cause of action to allow trademark owners to

seek redress against domain-name registrants. See 15 U.S.C. § 1125(d). As

relevant here, the statutory prohibition on cybersquatting reads as follows:

             A person shall be liable in a civil action by the owner of a mark
             . . . if . . . that person-- (i) has a bad faith intent to profit from
             that mark . . . and (ii) registers, traffics in, or uses a domain
             name that--(I) in the case of a mark that is distinctive at the
             time of registration of the domain name, is identical or
             confusingly similar to that mark; [or] (II) in the case of a famous
             mark that is famous at the time of registration of the domain
             name, is identical or confusingly similar to or dilutive of that
             mark[.]

15 U.S.C. § 1125(d)(1)(A). A plaintiff bringing such a claim is eligible to recover “(1)

defendant’s profits, (2) any damages sustained by the plaintiff, and (3) the costs of

the action.” 15 U.S.C. § 1117(a). Further, in lieu of actual damages, “the plaintiff

may elect . . . to recover . . . an award of statutory damages in the amount of not less

than $1,000 and not more than $100,000 per domain name, as the court considers

just.” 15 U.S.C. § 1117(d).

             b.     Application

       Wang argues that this action is “clearly a case involving 15 U.S.C.

§ 1125(d)(1)” and, thus, he is entitled to statutory damages. Pl.’s Mem. at 9. Wang

appears to misunderstand that § 1125(d)(1) allows trademark owners to seek

redress against domain-name registrants, not the reverse. To prevail on a

cybersquatting claim under 15 U.S.C. § 1125(d)(1), plaintiffs must establish:



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“(1) Defendants registered, trafficked in or used a domain name; (2) that was

identical or confusingly similar to Plaintiffs’ mark; (3) Plaintiffs’ mark, at the time

Defendants registered their domain name, was distinctive; and (4) Defendants

committed these acts with a bad faith intent to profit from Plaintiffs’ mark.”

Hamptons Locations, Inc. v. Rubens, 640 F. Supp. 2d 208, 214 (E.D.N.Y. 2009)

(citing 15 U.S.C. § 1125(d)(1)(A)).

      Here, Wang has not pleaded facts to establish at least three of these

elements. Specifically, he has not alleged that he owns a mark—much less a

“distinctive” (or “famous”) mark within the meaning of the ACPA. Consequently, he

cannot establish the third element. See 15 U.S.C. § 1125(d)(1) (making registrant

liable to “the owner of a mark”); optionsXpress, Inc. v. optionsXpress Inc., No. 14-

CV-956 (PKC), 2014 WL 3728637, at *3 (S.D.N.Y. July 28, 2014) (“To prevail on a

claim of cybersquatting under 15 U.S.C. § 1125(d), a plaintiff must own a famous or

distinctive mark . . . .”). Additionally, Wang has not established that defendants

had a “bad faith intent to profit” from any mark owned by him, which precludes him

from establishing the fourth element. 15 U.S.C. § 1125(d)(1)(A)(i). Further, Wang

does not allege that defendants registered or used a domain name that is “identical

or confusingly similar to” any mark of his, which prevents him from establishing the

second element. 15 U.S.C. § 1125(d)(1)(A)(ii)(I)–(II). For these reasons, Wang has

failed to establish a cybersquatting claim, which precludes him from recovering

under 15 U.S.C. § 1117(a) or (d). See Camowraps, LLC v. Quantum Digital

Ventures LLC, 74 F. Supp. 3d 730, 741, n.43 (E.D. La. 2015) (“Although [15 U.S.C.



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§ 1117] authorizes statutory damages for cases involving . . . bad-faith registration

of a domain name, see 15 U.S.C. §§ 1117(d), 1125(d)), plaintiff does not explain how

those provisions could apply to this case.”).

      2.     Reverse Domain-Name Hijacking

      As discussed above, the ACPA allows trademark owners to seek redress

against domain-name registrants. However, “to balance the rights given to

trademark owners against cybersquatters, the ACPA also provides some protection

to domain name registrants against ‘overreaching trademark owners.’”

Barcelona.com, Inc. v. Excelentisimo Ayuntamiento De Barcelona, 330 F.3d 617, 625

(4th Cir. 2003) (quoting S. Rep. No. 106–140, at 11). Specifically, the ACPA

authorizes domain-name registrants to sue trademark owners for “reverse domain

name hijacking.” See, e.g., Gen. Media, 2007 WL 102988, at *7. Reverse domain-

name hijacking is the practice by which “trademark owners abusively assert their

trademark rights to strip domain names from rightful owners.” Sallen v.

Corinthians Licenciamentos LTDA, 273 F.3d 14, 17 (1st Cir. 2001).

      The ACPA “contains two provisions relevant to . . . reverse domain name

hijacking”—15 U.S.C. § 1114(2)(D)(iv) and (v). Gen. Media, 2007 WL 102988, at *7.

As discussed below, subsection (v) of this statutory provision allows domain-name

registrants to sue trademark owners who deprive them of domain names when the

registration or use of the domain names are not in fact unlawful under the ACPA.

15 U.S.C. § 1114(2)(D)(v). Under subsection (iv), domain-name registrants may

seek recovery against trademark owners who deprive them of domain names by



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means of knowing and material misrepresentations. 15 U.S.C. § 1114(2)(D)(iv). For

the reasons explained below, the Court finds that Wang is eligible for relief under

subsection (v), but not subsection (iv).

             a.     Reverse Domain-Name Hijacking Under § 1114(2)(D)(v)

                    i.       Legal Standard

      A domain-name registrant can sue a trademark owner under 15 U.S.C.

§ 1114(2)(D)(v) if the trademark owner causes a domain name to be “suspended,

disabled, or transferred” as long as the domain-name registrant’s registration and

use of the domain name was “not unlawful” under the ACPA. 15 U.S.C.

§ 1114(2)(D)(v). In relevant part, subsection (v) of this statutory provision reads as

follows:

      A domain name registrant whose domain name has been suspended,
      disabled, or transferred under a [reasonable] policy . . . may . . . file a
      civil action to establish that the registration or use of the domain name
      by such registrant is not unlawful under this chapter. The court may
      grant injunctive relief to the domain name registrant, including the
      reactivation of the domain name or transfer of the domain name to the
      domain name registrant.

15 U.S.C. § 1114(2)(D)(v).

      Three phrases from subsection (v) warrant discussion. First, to succeed on a

claim of reverse domain-name hijacking under this subsection, the domain-name

registrant’s registration and use of the domain name cannot be “unlawful under this

chapter.” 15 U.S.C. § 1114(2)(D)(v) (emphasis added). Unlike the codified statutory

language quoted here, the original legislative enactment states that the registration

and use of the domain name cannot be “unlawful under this Act.” See 113 Stat.



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1501, § 3003 (emphasis added). Courts are divided on the question of whether the

phrases “this chapter” and “this Act” refer to the ACPA, or to the entire Lanham

Act. The Second Circuit has “assume[d]” without deciding that the phrase refers to

the ACPA only, while acknowledging the Fourth Circuit’s contrary interpretation.

See Storey v. Cello Holdings, L.L.C., 347 F.3d 370, 382 n.9 (2d Cir. 2003) (citing

Barcelona.com, 330 F.3d at 627–28 & n.2. Here, defendants have argued only that

Wang’s registration and use of the domain name ran afoul of the ACPA’s

cybersquatting provision, not any other provision of the Lanham Act. See infra at

22 & n.12. Consequently, the issue is academic and, like the Second Circuit in

Storey, the Court may assume without deciding that the phrase refers only to the

ACPA.

      Second, given that subsection (v) applies only to a “domain name registrant

whose domain name has been suspended, disabled, or transferred,” 15 U.S.C.

§ 1114(2)(D)(v), the “text of the statute could be read to” create “a cause of action

only after the domain name has been transferred.” Storey, 347 F.3d at 383 n.11.

The Second Circuit has determined, however, that “§ 1114(2)(D)(v) encompasses

situations in which a UDRP panel has ruled against a domain name and has

ordered transfer or deactivation, but in which the order has not yet been

implemented[.]” Id. Consequently, although the parties dispute whether the UDRP

panel’s transfer order was effectuated, Wang may seek relief pursuant to subsection

(v) regardless of whether the transfer took effect.




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      Third, subsection (v) provides a cause of action to domain-name registrants

whose domain name is transferred or suspended pursuant to a “reasonable policy.”

15 U.S.C. § 1114(2)(D)(v). 10 Courts have interpreted the phrase “reasonable policy”

to include the UDRP. See, e.g., Storey, 347 F.3d at 382 (noting that parties did not

dispute that the UDRP was a “reasonable policy” within the meaning of the

statute); Barcelona.com, 330 F.3d at 625 (defining “reasonable policy” to include

UDRP); Stephens, 205 F. Supp. 3d at 308–09 (same).

      In effect, under subsection (v), a domain-name registrant whose domain

name is ordered to be transferred pursuant to a UDRP decision may seek redress

against the trademark owner who initiated the UDRP proceeding—provided that

the domain-name registrant’s “registration or use of the domain name” was “not

unlawful” under the ACPA. 15 U.S.C. § 1114(2)(D)(v); see Sallen, 273 F.3d at 27

(“Under § 1114(2)(D)(v), Congress has provided registrants . . . with an affirmative

cause of action to recover domain names lost in UDRP proceedings.”).

      When adjudicating § 1114(2)(D)(v) claims, courts give no deference to the

UDRP panel’s decision. See, e.g., Barcelona.com, 330 F.3d at 626 (“[A]ny decision

made by a panel under the UDRP is . . . not given any deference under the ACPA.”)

(emphasis omitted); Gen. Media, 2007 WL 102988, at *4 (“The UDRP decisions are

not binding on the courts. Indeed, the UDRP expressly contemplates independent

judicial review of UDRP decisions.”) (citations omitted). Instead, a claim “brought




10To be precise, subsection (v) incorporates subsection (ii)(II), which refers to the
implementation of a “reasonable policy.”
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under § 1114(2)(D)(v) . . . is independent of, and involves neither appellate-like

review of nor deference to, the underlying [UDRP] proceeding.” Storey, 347 F.3d at

382 (quoting Hawes v. Network Sols., Inc., 337 F.3d 377, 386 (4th Cir. 2003)); see

also Sallen, 273 F.3d at 26 (“[T]he UDRP clearly contemplates judicial intervention

and, in fact, that the judicial outcome will override the UDRP one.”). A court’s

“declaration of compliance with the ACPA” simply “trumps the panel’s finding of

noncompliance with the UDRP.” Sallen, 273 F.3d at 27.

      By filing a UDRP complaint, the trademark owner “submit[s], with respect to

any challenges to a decision in the administrative proceeding canceling or

transferring the domain name, to the jurisdiction of the courts” corresponding with

the “domain-name holder’s address.” Rules for UDRP ¶ 3(b)(xiii), ICANN.org,

www.icann.org/resources/pages/rules-be-2012-02-25-en (last visited Jan. 23, 2018).

Accordingly, federal courts apply § 1114(2)(D)(v) with equal force to foreign

defendants. See, e.g., Barcelona.com, 330 F.3d at 626–29; Hawes, 337 F.3d at 383–

87. In the words of the First Circuit, “[i]t would be very odd if Congress, which was

well aware of the international nature of trademark disputes, protected Americans

against reverse domain name hijacking only when a registered American mark

owner was doing the hijacking.” Sallen, 273 F.3d at 24 (footnote omitted).

                    ii.    Application

      Wang argues that he is entitled to relief under 15 U.S.C. § 1114(2)(D)(v)

because defendants obtained a UDRP panel order directing the transfer of

<lefigaro.news>, even though his registration and use of the domain name complied



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with the ACPA. Compl. ¶¶ 2, 5, 45. 11 To prevail on a claim of reverse domain-name

hijacking under this statutory subsection, “a plaintiff must establish (1) that [he] is

a domain name registrant; (2) that [his] domain name was suspended, disabled, or

transferred under a policy [such as the UDRP]; (3) that the owner of the mark that

prompted the domain name to be suspended, disabled, or transferred has notice of

the action by service or otherwise; and (4) that the plaintiff’s registration or use of

the domain name is not unlawful under the” ACPA. Alsoy v. Çiçeksepeti Internet

Hizmetleri Anonim Sirketi, 232 F. Supp. 3d 613, 621 (D. Del. 2017) (quoting

Barcelona.com, 330 F.3d at 626).

      Defendants appear to concede the first three elements, but they dispute the

fourth, contending that Wang violated the ACPA’s prohibition on cybersquatting.

See 15 U.S.C. § 1125(d)(1); Defs.’ Findings at 15–16, ¶¶ 15–18. 12 To determine

whether a party is liable for cybersquatting, “‘courts in the Second Circuit consider

(1) whether the mark is distinctive or famous; (2) whether the domain name is

identical or ‘confusingly similar’ to the mark; and (3) whether the domain name

registrant acted with a ‘bad faith intent to profit’ from the mark when it registered




11Wang’s complaint contains two sets of paragraphs one and two; the citation to
paragraph two here refers to the first one. See Compl. 1–2.

12Defendants do not cite the statutory provision that they claim Wang violated, but
they argue that Wang cannot demonstrate his compliance with two elements of 15
U.S.C. § 1125(d)(1). See Defs.’ Findings at 15 ¶ 15. In making this argument,
defendants cite Strong Coll. Students Moving Inc. v. Coll. Hunks Hauling Junk
Franchising LLC, No. 12-CV-1156, 2015 WL 12602438, at *8 (D. Ariz. May 15,
2015), wherein the court analyzed whether the plaintiff had violated 15 U.S.C.
§ 1125(d)(1). Id.
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the domain name.” New World Sols., Inc. v. NameMedia Inc., 150 F. Supp. 3d 287,

323 (S.D.N.Y. 2015) (quoting Kuklachev v. Gelfman, 600 F. Supp. 2d 437, 472

(E.D.N.Y. 2009)) (internal alterations omitted).

      Concerning the first element, though their inquest submissions hardly

address the issue, defendants have submitted evidence demonstrating that the “Le

Figaro” mark has been registered with the U.S. Patent and Trademark Office since

1953. Defs.’ Decl., Ex. E, Dkt. No. 29-6. “As a rule, a registered trademark is

presumed to be distinctive.” Alpha Recyclying, Inc. v. Crosby, No. 14-CV-5015

(JPO), 2016 WL 1178774, at *3 (S.D.N.Y. Mar. 23, 2016). Consequently, the first

element appears to be satisfied.

      Regarding the second element, though defendants say little about this topic,

it appears that the domain name <lefigaro.news> is identical or confusingly similar

to the “Le Figaro” mark. 13 This domain name is composed of “Le Figaro” as one

word with the top-level domain “.news” at the end. However, “[r]egistration of

domain names that constitute slight variations of a registered mark, including

domain names that differ by one or two characters, often satisfies the requirement

of confusing similarity.” Gioconda Law Grp. PLLC v. Kenzie, 941 F. Supp. 2d 424,

430 n.6 (S.D.N.Y. 2013). Further, a top-level domain (here, “.news”) does not serve

to distinguish a domain name from a mark. See, e.g., Web-adviso v. Trump, 927 F.




13Defendants’ silence on this subject may owe to the fact that the order entering
default judgment provided that “defendants cannot preclude Wang from use of the
disputed domain name on the grounds that it is confusingly similar to marks in
which they may own rights.” Order, dated Dec. 29, 2016, Dkt. No. 18.
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Supp. 2d 32, 41 n.4 (E.D.N.Y. 2013), aff’d sub nom. Yung v. Trump, 648 F. App’x 24

(2d Cir. 2016). Consequently, the second element appears to be met here.

       According to Wang, “le figaro” is a “generic” term that means “barber” in

English. Pl.’s Findings, Ex. 1, ¶ 11. Wang’s point appears to be that such “common

. . . generic dictionary words” are ineligible for trademark protection. Id.; see

Compl. ¶ 18 (asserting that “any trademarks” that defendants “claim to hold are in

violation of federal law”); see, e.g., Two Pesos, Inc. v. Taco Cabana, Inc., 505 U.S.

763, 768 (1992) (“Marks are often classified in categories of generally increasing

distinctiveness[:] . . . (1) generic; (2) descriptive; (3) suggestive; (4) arbitrary; or (5)

fanciful.”); Star Indus., Inc. v. Bacardi & Co., 412 F.3d 373, 385 (2d Cir. 2005)

(noting that generic trademarks “are not at all distinctive” and “are not protectable

under any circumstances”). Yet Wang overlooks the fact that a “word may be

generic of some things and not of others.” Lifeguard Licensing Corp. v. Kozak, No.

15-CV-8459 (LGS) (JCF), 2017 WL 908199, at *3 (S.D.N.Y. Mar. 7, 2017) (quoting

Genesee Brewing Co. v. Stroh Brewing Co., 124 F.3d 137, 147 (2d Cir. 1997)). For

example, “‘Ivory’ would be generic” and not protectable “when used to describe a

product made from the tusks of elephants but arbitrary” but protectable “as applied

to soap.” Abercrombie & Fitch Co. v. Hunting World, Inc., 537 F.2d 4, 9 n.6 (2d Cir.

1976). To the extent that “le figaro” is a generic term that translates into “barber”

(a proposition for which Wang cites no authority), the term would arguably be

ineligible for trademark protection in the haircutting business but eligible for

protection in the media realm. See Otokoyama Co. v. Wine of Japan Imp., Inc., 175



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F.3d 266, 270 (2d Cir. 1999) (“Generic terms are not eligible for protection as

trademarks . . . . The same rule applies when the word designates the product in a

language other than English.”). For these reasons, Wang’s argument is

unpersuasive and the <lefigaro.news> domain name appears to be identical or

confusingly similar to a distinctive mark owned by defendant Société du Figaro.

      Although the first two elements appear to be met, the Court does not reach

any firm conclusions on these issues, as the parties have not seriously addressed

these questions in their submissions. Moreover, the question of whether these two

elements are satisfied is academic in light of the Court’s determination below that

the third element is unmet, which is itself sufficient to establish that Wang’s

registration and use of <lefigaro.com> was not unlawful under the ACPA.

      To satisfy the third element of a cybersquatting claim, the domain-name

registrant must have had a “bad faith intent to profit” from the mark. 15 U.S.C.

§ 1125(d)(1)(A)(i). “The ACPA is not an all-purpose tool designed to allow the

holders of distinctive marks the opportunity to acquire any domain name

confusingly similar to their marks.” Gioconda, 941 F. Supp. 2d at 437. Thus, even

if a party registers a domain name that is identical or confusingly similar to a

distinctive or famous mark, he is only liable if he has a “bad faith intent to profit”

from the mark. 15 U.S.C. § 1125(d)(1)(A)(i). “The requirement of bad faith intent to

profit imposes an important limit that cabins the statute’s scope and ensures that

the ACPA targets only the specific evils that Congress sought to prevent.”

Gioconda, 941 F. Supp. 2d at 437.



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      The ACPA enumerates a non-exhaustive list of nine factors that “a court may

consider” when making the bad-faith inquiry:

      (I) the trademark or other intellectual property rights of the person, if
      any, in the domain name;

      (II) the extent to which the domain name consists of the legal name of
      the person or a name that is otherwise commonly used to identify that
      person;

      (III) the person’s prior use, if any, of the domain name in connection
      with the bona fide offering of any goods or services;

      (IV) the person’s bona fide noncommercial or fair use of the mark in a
      site accessible under the domain name;

      (V) the person’s intent to divert consumers from the mark owner’s
      online location to a site accessible under the domain name that could
      harm the goodwill represented by the mark, either for commercial gain
      or with the intent to tarnish or disparage the mark, by creating a
      likelihood of confusion as to the source, sponsorship, affiliation, or
      endorsement of the site;

      (VI) the person’s offer to transfer, sell, or otherwise assign the domain
      name to the mark owner or any third party for financial gain without
      having used, or having an intent to use, the domain name in the bona
      fide offering of any goods or services, or the person’s prior conduct
      indicating a pattern of such conduct;

      (VII) the person’s provision of material and misleading false contact
      information when applying for the registration of the domain name,
      the person’s intentional failure to maintain accurate contact
      information, or the person’s prior conduct indicating a pattern of such
      conduct;

      (VIII) the person’s registration or acquisition of multiple domain
      names which the person knows are identical or confusingly similar to
      marks of others that are distinctive at the time of registration of such
      domain names, or dilutive of famous marks of others that are famous
      at the time of registration of such domain names, without regard to the
      goods or services of the parties; and




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       (IX) the extent to which the mark incorporated in the person’s domain
       name registration is or is not distinctive and famous within the
       meaning of subsection (c) of this section.

15 U.S.C. § 1125(d)(1)(B)(i). “A leading treatise on the law of trademarks notes that

‘[t]he first four factors suggest circumstances tending to indicate an absence of bad

faith intent to profit from the goodwill of the mark, the next four tend to indicate

that such bad faith does exist and the last factor points in either direction,

depending on the degree of distinctiveness and fame of the mark.’” Gioconda, 941

F. Supp. 2d at 432 (quoting 4 McCarthy on Trademarks and Unfair Competition

§ 25:78 (4th ed.)).

       Because these nine factors are non-exhaustive and because consideration of

them is not expressly mandated, courts have not mechanically applied the factors

but have instead taken a “case-specific approach to bad faith.” Id. at 433. “[A] court

must analyze each case based on its unique circumstances to determine how close a

[party’s] conduct falls to the ACPA’s heartland—the clearest example of which is

the situation where a [party] registers an established entity’s domain name in bad

faith and offers to sell it to the entity for an exorbitant price.” New World Sols., 150

F. Supp. 3d at 325 (quoting Gench v. HostGator.com LLC, No. 14-CV-3592 (RA)

(GWG), 2015 WL 569154, at *7 (S.D.N.Y. Feb. 11, 2015)). “Another ‘quintessential

example’ of bad faith is ‘where a [party] intends to profit by diverting customers

from the website of the trademark owner to the [party’s] own website, where those

customers would purchase the [party’s] products or services.’” Id. (quoting

Gioconda, 941 F. Supp. 2d at 434) (internal alterations omitted). “In cases that



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vary too much from the specific evil contemplated by the ACPA . . . some courts

have looked skeptically at claims of bad faith.” Gioconda, 941 F. Supp. 2d at 434

(collecting cases).

       Here, as discussed below, not all of the nine enumerated factors weigh in

Wang’s favor, but the present record is simply devoid of evidence that Wang

registered or used <lefigaro.news> with a “bad faith intent to profit.” 15 U.S.C.

§ 1125(d)(1)(A)(i). Wang, a self-described “patron of the arts,” has attested to the

fact that he registered the domain name to start an “arts news and opera blog.”

Compl. ¶¶ 12–13. 14 As an admirer of Le nozze di Figaro, he declares that he named

the blog after this famous Mozart opera, which was scheduled to be performed

locally around the time that he registered the domain name. Compl. ¶¶ 12–13.

Wang affirms that he “neither knows French nor has any personal or business

relationships with France or anyone located in France.” Id. ¶ 15. He “does not

solicit or engage in outbound domain sales.” Id. ¶ 14. Nor does he “send outbound

emails, call third parties, or initiate any other outbound communication in regards

to the selling of a domain.” Id. Defendants have submitted no evidence to

contradict these assertions, or to otherwise demonstrate that Wang sought to profit

in bad faith from any mark owned by defendants.




14As explained above, although Wang did not initially swear to the allegations
included in his complaint, proposed findings of fact and conclusions of law, and
supporting memorandum of law, he later submitted affidavits swearing to the facts
alleged therein. Dkt. Nos. 35, 37–38.
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      In arguing that Wang violated the ACPA’s prohibition on cybersquatting,

defendants rely heavily on the UDRP panel’s decision. Defs.’ Findings at 15–16

¶¶ 16, 18. As the Court reads that decision, the panel’s finding of bad faith was

based on three factors. First, Wang’s website was left blank until after the UDRP

proceedings commenced. Panel Decision at 6. Second, when Wang added content to

his website during the course of the UDRP proceeding, he added only “a single

simple post” and never “supplemented or updated” it. Id. Third, Wang took a

screenshot of his website “a mere 3 minutes after the post was made,” which led the

panel to believe that his blog post was nothing more than “manufactured” evidence

meant to substantiate his claims. Id. For these reasons, the UDRP panel concluded

that, “on the balance of probabilities,” it was “more plausible” that Wang registered

the domain name to “take some form of” unspecified “unfair advantage” of Société

du Figaro than “for an opera related blog.” Id. Defendants argue that there “is no

basis for reaching a different conclusion” here. Defs.’ Findings at 15 ¶ 16.

      The Court finds defendants’ argument unconvincing. As an initial matter,

UDRP panel decisions receive no deference in judicial proceedings like this one.

See, e.g., Storey, 347 F.3d at 382–83. Further, the bad-faith standard applied by the

UDRP panel differs from the standard set out in 15 U.S.C. § 1125(d)(1)(A).

Compare 15 U.S.C. § 1125(d)(1)(A)(i), (B)(i), with UDRP ¶ 4(b), ICANN.org,

www.icann.org/resources/pages/policy-2012-02-25-en (last visited Jan. 23, 2018).

Although § 1125(d)(1) requires domain-name registrants to have “a bad faith intent

to profit,” the UDRP policy’s definition of “bad faith” appears to be broader—



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without necessarily requiring any intent to profit. Id.; see also Sporty’s Farm, 202

F.3d at 499 n.13 (“We expressly note that ‘bad faith intent to profit’ are terms of art

in the ACPA and hence should not necessarily be equated with ‘bad faith’ in other

contexts.”).

       The present record fails to demonstrate that Wang acted with a “bad faith

intent to profit.” See 15 U.S.C. § 1125(d)(1)(A)(i). Even assuming that Wang

prepared his first blog post to bolster his claim that he was an aspiring opera and

arts blogger, this fact does not demonstrate that Wang registered or used the

domain name for commercial gain at defendants’ expense. Wang’s website may

have sat dormant until after the UDRP proceedings began, but he had only

registered the domain name 19 days before the UDRP complaint was filed. Defs.’

Findings at 3–4 ¶¶ 11, 18. Although defendants emphasize that Wang never

updated his website after his initial post, the lack of activity is unsurprising given

that the commencement of the UDRP proceeding put his ownership of the domain

name in jeopardy and that the UDRP panel ordered that the domain name be

transferred to defendants. 15 In short, defendants have simply failed to present any

evidence to contradict Wang’s assertions that he registered <lefigaro.news> to start

an opera and arts blog without any intent to profit in bad faith at defendants’

expense.




15As discussed above, the parties dispute whether the UDRP panel’s transfer order
took effect. See supra at 9–10. Yet even if the transfer order was not implemented,
there is no evidence to contradict Wang’s representation that he believed it had
been implemented such that the domain name was transferred out of his control.
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      This case is thus outside the “ACPA’s heartland.” See New World, 150 F.

Supp. 3d at 325 (citation omitted). Defendants have not suggested that Wang

sought to sell <lefigaro.news> to defendants at an “exorbitant price.” See id. Nor is

there any evidence that Wang attempted to divert Le Figaro readers to his own

website for commercial gain. See id.

      Nevertheless, in the interest of completeness, the Court will examine the nine

“bad faith” factors enumerated in 15 U.S.C. § 1125(d)(1)(B)(i). At least five of the

nine factors are admittedly of no help to Wang. Given that Wang’s blog was such a

short-lived project, however, it is unsurprising that Wang cannot demonstrate

“trademark or other intellectual property rights” in the domain name (factor I);

“prior use” of “the domain name in connection with the bona fide offering of any

goods or services” (factor III); or “bona fide noncommercial or fair use of the mark in

a site accessible under the domain name” (factor IV). See 15 U.S.C.

§ 1125(d)(1)(B)(i)(I)–(IV). Factor II (which concerns “the extent to which the domain

name consists of the . . . name of the” domain-name registrant) might help a

domain-name registrant establish good faith when the domain name includes a

personal name that matches his own name. 15 U.S.C. § 1125(d)(1)(B)(i)(II). The

absence of this factor here, however, does little to persuade the Court that Wang

acted in bad faith. Finally, factor IX appears to weigh against Wang given that the

“Le Figaro” mark’s registration with the U.S. Patent and Trademark Office makes it

presumptively distinctive. See, e.g., Alpha Recycling, 2016 WL 1178774, at *3.




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       The remaining four factors are favorable to Wang. Specifically, there is no

evidence of Wang’s “intent to divert consumers from the mark owner’s online

location to a[nother] site . . . for commercial gain or . . . to tarnish or disparage the

mark” (factor V); no evidence of Wang’s “offer to . . . sell . . . the domain name . . . for

financial gain without” intending “to use, the domain name in the bona fide offering

of any goods or services” (factor VI); no evidence of Wang’s use of “false contact

information when applying for the registration of the domain name” (factor VII);

and no evidence of Wang’s “registration or acquisition of multiple domain names

which [he knew were] identical or confusingly similar to marks of others” (factor

VIII). 15 U.S.C. § 1125(d)(1)(B)(i)(V–VIII).

       Even though many of the enumerated factors do not tip in Wang’s favor, the

Court takes a “case-specific approach to bad faith” and concludes that Wang has

articulated a legitimate, good-faith basis for registering <lefigaro.news>, and

evidence that he had a “bad faith intent to profit” from the domain name is absent

from the record. See Gioconda, 941 F. Supp. 2d at 433. For this reason, the Court

concludes that Wang’s registration and use of <lefigaro.news> did not violate the

ACPA’s prohibition on cybersquatting, as the bad-faith element of an ACPA

cybersquatting claim is unmet. See 15 U.S.C. § 1125(d)(1)(A)(i). Consequently, the

fourth (and final) element of Wang’s claim of reverse domain-name hijacking under

subsection (v) is satisfied, as Wang’s registration and use of <lefigaro.news> was

“not unlawful” under the ACPA. 15 U.S.C. § 1114(2)(D)(v).




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             b.     Reverse Domain-Name Hijacking Under § 1114(2)(D)(iv)

                    i.     Legal Standard

      Wang also asserts a claim of reverse domain-name hijacking under 15 U.S.C.

§ 1114(2)(D)(iv) on the ground that defendants knowingly and materially

misrepresented facts during the UDRP arbitration to gain control of

<lefigaro.news>. Compl. ¶¶ 5, 32, 51–52. Under subsection (iv), a domain-name

registrant can recover damages if an overreaching trademark owner deprives the

registrant of his domain name by means of a knowing and material

misrepresentation in a UDRP proceeding. See, e.g., ISystems v. Spark Networks,

Ltd., No. 10-10905, 2012 WL 3101672, at *2 (5th Cir. Mar. 21, 2012). Specifically,

subsection (iv) provides as follows:

      If a registrar, registry, or other registration authority takes an action
      . . . based on a knowing and material misrepresentation by any other
      person that a domain name is identical to, confusingly similar to, or
      dilutive of a mark, the person making the knowing and material
      misrepresentation shall be liable for any damages, including costs and
      attorney’s fees, incurred by the domain name registrant as a result of
      such action. The court may also grant injunctive relief to the domain
      name registrant, including the reactivation of the domain name or the
      transfer of the domain name to the domain name registrant.

15 U.S.C. § 1114(2)(D)(iv). Courts have interpreted the word “action” to include the

act of “‘transferring, temporarily disabling, or permanently canceling a domain

name’ . . . in compliance with a . . . policy . . . such as the UDRP.” Gen. Media, 2007

WL 102988, at *7 (quoting 15 U.S.C. § 1114(2)(D)(ii)). A plaintiff making a

successful claim of reverse domain-name hijacking under subsection (iv) is entitled

“any damages, including costs and attorney’s fees, incurred by the domain name



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registrant” as well as “injunctive relief . . . , including the reactivation of the domain

name or the transfer of the domain name to the domain name registrant.” 15

U.S.C. § 1114(2)(D)(iv). 16

                     ii.      Application

       Wang contends that defendants “provided the UDRP panel with false,

incomplete, and misleading information in connection with its effort to gain control

over the <lefigaro.news> domain name.” Compl. ¶ 51. Wang appears to have three

alleged misrepresentations in mind, but none of them satisfies § 1114(2)(D)(iv).

       First, according to Wang, defendants misrepresented that he was aware of

Société du Figaro’s “Le Figaro” trademark when he registered <lefigaro.news>.

Compl. ¶ 33. In its UDRP complaint, Société du Figaro had argued that Wang was

“necessarily aware” of its trademark because “the trademark LE FIGARO® [had

been] registered in the TradeMark ClearingHouse” when Wang registered the

domain name. UDRP Complaint, Defs.’ Decl. Ex. R, Dkt. No. 29-19, at 2. The

UDRP panel, however, specifically noted that it did not take this argument “into

account” in its decision, finding it to be not “clearly argued or properly

substantiated.” Panel Decision at 6. Consequently, Wang cannot plausibly contend




16As noted, in the context of § 1114(2)(D)(v), the Second Circuit has concluded that
the statute is applicable even when “a UDRP panel . . has ordered transfer or
deactivation, but in which the order has not yet been implemented” pending the
resolution of a subsequent lawsuit. Storey, 347 F.3d at 383 n.11. This
interpretation would appear to apply equally to § 1114(2)(D)(iv) claims, and
defendants do not argue otherwise. It is unnecessary to decide this question here,
however, given that Wang’s claim under subsection (iv) fails for separate reasons
discussed below.
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that his domain name was transferred “based on” this representation, or that this

alleged misrepresentation “was material.” 15 U.S.C. § 1114(2)(D)(iv). Further,

Wang has not demonstrated that defendants made this statement “knowing” it to be

false (to the extent that it is false). Id. For these reasons, this alleged

misrepresentation does not support a claim of reverse domain-name hijacking under

subsection (iv).

      Second, Wang states that defendants misrepresented to the UDRP panel that

the newspaper Le Figaro was founded in 1826 when, in his view, it was founded

more than 100 years later. Compl. ¶ 33; see also Panel Decision at 3. Wang cites

Société du Figaro’s “articles of incorporation,” which he says indicate that Société

du Figaro was incorporated in 1954. Compl. ¶ 34. However, even if Société du

Figaro (Le Figaro’s current owner) was incorporated in 1954, the newspaper could

have still been established in 1826. Indeed, defendants have submitted a sworn

declaration from a chief legal officer of Société du Figaro’s parent company attesting

to Le Figaro’s 1826 founding. Defs.’ Decl. ¶ 4. Wang has not submitted any

evidence to rebut this sworn statement—much less to demonstrate that defendants

“knowingly” misrepresented the date of the newspaper’s founding to the UDRP

panel. 15 U.S.C. § 1114(2)(D)(iv). Moreover, the date of the newspaper’s founding

does not appear to be a “material” fact and there is no indication that the panel’s

decision to transfer the domain name was “based on” the newspaper’s alleged 19th

century roots. Id. For these reasons, the Court concludes that this representation

does not support Wang’s subsection (iv) claim.



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       Finally, Wang take issue with defendants’ claims of trademark rights dating

back before 1958—the year in which “the constitution of modern day France was

established.” Compl. ¶ 35. Such trademarks, according to Wang, “carr[y] no

weight.” Id. Yet Wang has not cited any authority for this proposition—let alone

has he established that defendants “knowingly” misrepresented the validity of their

trademarks in the UDRP proceeding. 15 U.S.C. § 1114(2)(D)(iv). For these reasons,

the Court concludes that Wang has failed to demonstrate that he is entitled to relief

for his claim of reverse domain-name hijacking under subsection (iv).

C.     Relief

      1.      Equitable Relief

       Although other provisions of the ACPA authorize monetary damages, Wang

has only established a claim of reverse domain-name hijacking under 15 U.S.C.

§ 1114(2)(D)(v) and this statutory provision provides only for “injunctive relief to the

domain name registrant, including the reactivation of the domain name or transfer

of the domain name to the domain name registrant.” 15 U.S.C. § 1114(2)(D)(v).

Additionally, courts have interpreted this subsection to allow parties to seek a

declaration “that the registration of a particular domain name ‘is not unlawful

under’ the ACPA.” Stephens, 205 F. Supp. 3d at 312; Smith v. Dir.’s Choice, LLC,

No. 15-CV-81 (JBS) (AMD), 2015 WL 7720482, at *2 (D.N.J. Nov. 30, 2015) (“If the

plaintiff can prove that his registration or use of the domain name is not unlawful

. . . , he is entitled to declaratory relief and an injunction requiring the registrar to

reactivate or transfer the domain name back to the domain name registrant.”).



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Defendants acknowledge as much. See Defs.’ Findings at 21 ¶ 46 (“The ACPA

authorizes declaratory and injunctive relief in reverse domain name hijacking

claims.”).

       As relevant here, Wang requests (1) a declaration that his “registration and

use of the domain name <lefigaro.news> is not unlawful” under the ACPA; (2) a

declaration that his registration and use of <lefigaro.news> is “lawful” generally;

(3) a declaration that he “is not required to transfer the registration for . . .

<lefigaro.news> to” defendants; (4) “a permanent injunction enjoining the [domain-

name] registrar from transferring <lefigaro.news>” to defendants; and (5) a

“permanent injunction enjoining” defendants from accepting “a transfer of the

domain name <lefigaro.news> or claiming ownership” of it. Compl. “Wherefore”

clause ¶¶ A–E; see also Pl’s Findings ¶¶ III(A)–(E). 17

       Defendants argue that Wang is ineligible for equitable relief on the basis that

he has not come to the court with “clean hands.” Defs.’ Findings at 21–22 ¶ 47

(quoting Ricks, 727 F. Supp. 2d at 965); see, e.g., United States v. Milstein, 401 F.3d

53, 64 (2d Cir. 2005) (“As the Supreme Court has explained, ‘[t]he equitable powers

of this court can never be exerted in behalf of one who has acted fraudulently, or

who by deceit or any unfair means has gained an advantage.’”) (quoting Bein v.



17 Although Wang appears to request declaratory relief under both the ACPA and
the Declaratory Judgment Act, 28 U.S.C. § 2201, the Declaratory Judgment Act “is
largely irrelevant to this case because the ACPA itself authorizes declaratory relief.”
Sallen, 273 F.3d at 25 n.12; Stephens, 205 F. Supp. 3d at 312 (noting that the ACPA
“contemplates declaratory actions that the registration of a particular domain name
‘is not unlawful’”) (quoting 15 U.S.C. § 1114(2)(D)(v)).


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Heath, 47 U.S. 228, 246–47 (1848)); Hermes Int’l v. Lederer de Paris Fifth Ave., Inc.,

219 F.3d 104, 107 (2d Cir. 2000) (“[H]e who comes into equity must come with clean

hands.”) (quoting Precision Instrument Mfg. Co. v. Auto. Maint. Mach. Co., 324 U.S.

806, 809 (1945)). Specifically, defendants contend that “Wang’s hands are anything

but clean” given that his blog entry was “manufactured” evidence and that he

intended only to use the domain name for “rent-seeking,” not for a Mozart-inspired

opera and arts blog. Defs.’ Findings at 22 ¶ 48 (quoting Panel Decision at 6). The

Court, however, has already rejected these arguments as unsubstantiated when

rejecting the notion that Wang acted with a “bad faith intent to profit.”

Consequently, the Court concludes that Wang is not precluded from seeking

equitable relief under § 1114(2)(D)(v).

             a.     Declaratory Relief

      Concerning the declaratory relief sought by Wang, the Court recommends

that a declaratory judgment be entered stating that Wang’s use and registration of

the <lefigaro.news> domain name did not violate the ACPA’s prohibition on

cybersquatting. See Compl. “Wherefore” clause ¶ A; 15 U.S.C. § 1125(d)(1)(A);

Storey, 347 F.3d at 382 (“agree[ing] with the First and Fourth Circuits that a claim

brought by a domain name registrant under § 1114(2)(D)(v) seeks a declaration of

nonviolation of the ACPA”) (internal quotation marks omitted).

      The Court, however, recommends against granting Wang’s request for a

declaration that his registration and use of the domain name was “lawful” more

generally. See Compl. “Wherefore” clause ¶ B. The Court has no reason to question



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the broader legality of Wang’s registration and use of the domain name. At the

same time, only specific provisions of the ACPA are at issue in this lawsuit.

Consequently, the Court recommends against any sweeping pronouncements of

legality as such relief would not be narrowly tailored. See McClain ex rel. McClain

v. Halter, No. 99-CV-3236 (VM) (JCF), 2001 WL 619177, at *1 (S.D.N.Y. June 5,

2001) (“In exercising its equitable powers, a court must fashion a remedy narrowly

tailored to provide the necessary relief.”).

      Furthermore, given Wang’s representation (which appears to be well

supported) that the domain name has already been transferred to Société du Figaro,

it is unclear why he requests a declaration that he not be required to transfer the

domain name. Compl. “Wherefore” clause ¶ C; Pl.’s Reply ¶¶ 7–9; see also Email,

dated Dec. 5, 2015, Defs.’ Decl. Ex. S, Dkt. No. 29-20 (email from Name.com

representative stating that the “domain has been transferred to the Name.com

account you provided to us”). In addition, another individual has apparently

registered the domain name at issue in this litigation. See Defendants’ Aug. 3, 2017

Ltr., Ex. A. While it thus appears that any relief with respect to the transfer of the

domain name may well be moot, the Court recommends, in an abundance of

caution, that a declaratory judgment be entered that Wang is not required to

transfer the domain name to defendants.

             b.     Injunctive Relief

      Concerning the injunctive relief sought by Wang, the Court recommends that

none be imposed. “[A] plaintiff seeking a permanent injunction must satisfy a four-



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factor test before a court may grant such relief. A plaintiff must demonstrate: (1)

that [he] has suffered an irreparable injury; (2) that remedies available at law, such

as monetary damages, are inadequate to compensate for that injury; (3) that,

considering the balance of hardships between the plaintiff and defendant, a remedy

in equity is warranted; and (4) that the public interest would not be disserved by a

permanent injunction.” eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391

(2006). “The Court may issue a permanent injunction in the context of a default

judgment where these requirements are met.” CrossFit, Inc. v. 2XR Fit Sys., LLC,

No. 2:13-CV-1108 (KM), 2014 WL 972158, at *9 (D.N.J. Mar. 11, 2014); see also

Hilton v. Int’l Perfume Palace, Inc., No. 12-CV-5074 (JFB) (GRB), 2013 WL

5676582, at *12 (E.D.N.Y. Oct. 17, 2013).

      A court “has broad discretion to fashion” injunctive relief. Beastie Boys v.

Monster Energy Co., 87 F. Supp. 3d 672, 680 (S.D.N.Y. 2015). Yet “[i]njunctive

relief should be narrowly tailored to fit specific legal violations.” Patsy’s Brand. Inc.

v. I.O.B. Realty, Inc., 317 F.3d 209, 220 (2d Cir. 2003) (quoting Waldman Publ’g

Corp. v. Landoll Inc., 43 F.3d 775, 785 (2d Cir. 1984)). That is, “injunctive relief

should be no broader than necessary to cure the effects of the harm caused by the

violation, and should not impose unnecessary burdens on lawful activity.” Church

& Dwight Co. v. SPD Swiss Precision Diagnostics, GmBH, 843 F.3d 48, 72 (2d Cir.

2016) (internal citations and quotation marks omitted).

      Wang requests “a permanent injunction enjoining the [domain-name]

registrar from transferring <lefigaro.news>” to defendants. Compl. “Wherefore”



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clause ¶ D. But the domain-name registrar (Name.com) is not a party to this action.

“In general, a court may not issue an [injunctive] order against a nonparty.”

Entergy Nuclear Vermont Yankee, LLC v. Shumlin, No. 11-CV-99 (JGM), 2013 WL

121016, at *2 (D. Vt. Jan. 9, 2013) (citing United States v. Regan, 858 F.2d 115, 120

(2d Cir. 1988)). That said, Rule 65 of the Federal Rules of Civil Procedure provides

that non-parties “who are in active concert or participation” with a party may be

enjoined by an injunction. Fed. R. Civ. P. 65(d)(2). This rule “originates from ‘the

common law doctrine that a decree of injunction not only binds the parties . . . but

also those identified with them in interest, in ‘privity’ with them, represented by

them or subject to their control.’” U.S. Commodity Futures Trading Comm’n v.

Amaranth Advisors, LLC, 523 F. Supp. 2d 328, 334–35 (S.D.N.Y. 2007) (quoting

Regal Knitwear Co. v. NLRB, 324 U.S. 9, 14 (1945)). Wang has pleaded no facts to

establish that Name.com is in privity with defendants such that it could be subject

to a permanent injunction issued in this case. Thus, the Court recommends against

permanently enjoining Name.com from effectuating such a transfer.

       Wang also requests a “permanent injunction enjoining” defendants from

accepting “a transfer of the domain name <lefigaro.news> or claiming ownership”

over it. Compl. “Wherefore” clause ¶ E. As a threshold matter, as discussed

previously, this request may well be moot in that defendants themselves have

brought to the Court’s attention the fact that an individual not affiliated with any of

the parties has recently registered the domain name at issue in the case. Given

that the domain name appears to be in someone else’s hands, defendants could not



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even accept a transfer (and they do not appear to be claiming ownership since they

have not reported as much to the Court).

      Moreover, even if the domain name had not been registered by someone else,

the injunction that Wang seeks is overbroad and potentially would “impose

unnecessary burdens on lawful activity.” Church & Dwight, 843 F.3d at 72. If, for

example, Wang had retained possession of the domain name and then abandoned it

in the future, it is unclear why defendants should not in those (hypothetical)

circumstances be permitted to claim ownership of it. Accordingly, the Court

recommends against permanently enjoining defendants from ever accepting a

transfer of <lefigaro.news> or from claiming ownership over it.

      On the present record then, the Court does not believe that a permanent

injunction is necessary. A declaration that Wang has not violated the ACPA’s

anticybersquatting provision should be sufficient to dissuade defendants from

attempting to reacquire <lefigaro.news> from Wang (to the extent he ever seeks

again to register it), provided that were Wang to use the domain name again he

would do so in good faith without attempting to profit at defendants’ expense. See

Wooley v. Maynard, 430 U.S. 705, 711 (1977) (“[A] district court can generally

protect the interests of a federal plaintiff by entering a declaratory judgment, and

therefore the stronger injunctive medicine will be unnecessary.”) (internal quotation

marks omitted).




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      2.     Monetary Relief

      In addition to injunctive and declaratory relief, Wang has requested

monetary damages, attorney’s fees, and costs. Compl. “Wherefore” clause ¶¶ F–H.

As discussed above, however, Wang has only established that he is entitled to relief

under 15 U.S.C. § 1114(2)(D)(v), and that statutory provision does not authorize

monetary relief. To the extent that Wang argues otherwise, the Court notes that

where “Congress includes particular language in one section of a statute but omits

it in another section of the same Act, it is generally presumed that Congress acts

intentionally and purposely in the disparate inclusion or exclusion.” Russello v.

United States, 464 U.S. 16, 23 (1983). Because other provisions of the ACPA

expressly provide for monetary damages and § 1114(2)(D)(v) does not, the Court

concludes that this omission was intentional. See id.; Volovnik v. Benzel-Busch

Motor Car Corp., No. 09-CV-10595 (DAB) (JLC), 2010 WL 3629819, at *9 (S.D.N.Y.

July 29, 2010) (applying the maxim of expressio unius est exclusio alterius [“the

express mention of one thing excludes all others”] to damages question), adopted by,

2010 WL 3629815 (S.D.N.Y. Sept. 16, 2010).

      Moreover, even if monetary relief were available for § 1114(2)(D)(v) claims,

Wang has not offered any evidence of damages that he has suffered on account of

defendants’ actions. Wang has not established, for example, that he has lost

advertising or sales revenue because of the UDRP order. Nor has he demonstrated

that defendants profited from their acquisition of the <lefigaro.news> domain name.

Consequently, the Court recommends against any award of monetary damages.



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      Furthermore, although Wang requests statutory damages under 15 U.S.C.

§ 1117, such relief is available for claims of cybersquatting under 15 U.S.C.

§ 1125(d)(1), not claims of reverse domain-name hijacking under 15 U.S.C.

§ 1114(2)(D)(v). Compl. “Wherefore” clause ¶ H; 15 U.S.C. § 1117(d). Here, Wang

has failed to establish a claim of cybersquatting under § 1125(d)(1), making him

ineligible for statutory damages under 15 U.S.C. § 1117(d). See supra at 13–14. 18

      Finally, Wang requests attorneys’ fees and costs. Compl. “Wherefore” clause

¶ G. However, 15 U.S.C. § 1114(2)(D)(v) does not authorize such relief. Moreover,

Wang would be ineligible for this relief even if it were theoretically available.

Because Wang is proceeding pro se, he has not incurred attorney’s fees. See, e.g.,

Roberts v. Phillips, No. 06-CV-2866 (LAP) (THK), 2009 WL 3241525, at *4 (S.D.N.Y.

Sept. 30, 2009) (“Plaintiff’s application for attorney’s fees is denied because he is

appearing pro se, and his application for costs is denied because the Court granted

his request to proceed in forma pauperis.”). Further, Wang has offered no evidence

of costs, which may owe to his in forma pauperis status. See, e.g., id.; Pena v.

Comm’r of Soc. Sec., No. 08-CV-3304 (NGG) (JO), 2011 WL 2837409, at *1 (E.D.N.Y.

July 13, 2011) (denying “request for costs because Plaintiff was granted in-forma-

pauperis status”). Thus, the Court recommends against an award of fees or costs.




18 Although the statute does not expressly provide for them, Wang appears to
request punitive damages under 15 U.S.C. § 1117(d). Pl.’s Mem. at 9. Even
assuming that punitive damages are available under this statutory provision, Wang
is not entitled to any such relief given his failure to establish a cybersquatting claim
under § 1125(d)(1), which is a prerequisite to recovery under § 1117(d). Thus, the
Court recommends against awarding Wang punitive damages.
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                               III.   CONCLUSION

      For the reasons discussed above, the Court recommends that a declaratory

judgment be entered stating that Wang’s use and registration of the

<lefigaro.news> domain name did not violate the ACPA’s prohibition on

cybersquatting, and that Wang is not required to transfer the domain name to

defendants, but that no other relief, injunctive or monetary in nature, be granted.



             PROCEDURE FOR FILING OBJECTIONS TO THIS
                  REPORT AND RECOMMENDATION

      Pursuant to 28 U.S.C. § 636(b)(1) and Rule 72(b) of the Federal Rules of Civil

Procedure, the parties shall have fourteen (14) days from service of this Report to

file written objections. See also Fed. R. Civ. P. 6. Such objections, and any

responses to objections, shall be filed with the Clerk of Court, with courtesy copies

delivered to the chambers of the Honorable Paul A. Engelmayer and the

undersigned, United States Courthouse, 500 Pearl Street, New York, New York

10007. Any requests for an extension of time for filing objections must be directed

to Judge Engelmayer.

      FAILURE TO FILE OBJECTIONS WITHIN FOURTEEN (14) DAYS

WILL RESULT IN A WAIVER OF OBJECTIONS AND WILL PRECLUDE

APPELLATE REVIEW. 28 U.S.C. § 636(b)(1); FED. R. CIV. P. 72. See Thomas v.

Arn, 474 U.S. 140 (1985); Wagner & Wagner, LLP v. Atkinson, Haskins, Nellis,




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Brittingham, Gladd & Carwile, P.C., 596 F.3d 84, 92 (2d Cir. 2010).

Dated:      New York, New York
            January 26, 2018




A copy of this Report & Recommendation has been sent to:

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